
14 N.Y.2d 971 (1964)
Evelyn Kott, Appellant,
v.
Milton Kott, Respondent.
Court of Appeals of the State of New York.
Argued February 26, 1964.
Decided October 8, 1964.
Joseph D. Stim for appellant.
Edwin Kessler for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Judgment, furnished pursuant to CPLR 5512 (a), affirmed, without costs. (See, also, CPLR 10003; cf. Maryan Rest. v. Miller, 13 N Y 2d 1117.) No opinion.
